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                           UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  -SOUTHERN DIVISION-

   ____________________________________
   IN RE:
                                                            CASE NO. 15-05375
   Jill A. and John J. Malusek,
                                                            CHAPTER 13
                  Debtors.
                                                            HON. JOHN T. GREGG

                                                            FILED: September 30, 2015
   ____________________________________

                     ORDER APPROVING DEBTORS' THIRD CHAPTER 13
                          POST-CONFIRMATION AMENDMENT

          This matter having come before the Court on Debtors' Third Chapter 13 Post-
   Confirmation Amendment to Chapter 13 Plan, the Court having reviewed same and being
   otherwise fully advised in the premises;

         NOW THEREFORE, IT IS HEREBY ORDERED that the language of the Plan is
   amended and incorporated herein as follows:


   II.    FUNDING
   A.     PLAN PAYMENT The Debtor(s) shall make payments in the amount of $3,791 per
          week,    bi-weekly,     semi-monthly,      monthly and/or  Other (see “Additional Plan
          Payment Provisions” below) for the minimum of the Applicable Commitment period
          (ACP).
                  Additional Plan Payment Provisions: Payments of $3,791 shall begin March
   of 2017 and continue thereafter for the balance of the plan




                                        END OF ORDER




Signed: March 14, 2017
